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                                                                                                                                        FILED
      ""AO 245B (CASD) (Rev, 1/12)    Judgment in a Criminal Case

                                                                                                                                    i MAY @ N ~Ol3
                 Sheet I



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                                                 UNITED STATES DISTRICT COURT                                                   V
                                                                                                                                                                fll9RI!JJ!'W

                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                          v.                                        (For Offenses Committed On or After November I, 1987)

                                Lisa Walker (22)
                                                                                    Case Number: ll-cr-03486-JAH-22
                                                                                     John David Kirby
                                                                                    Defendant's Attorney
     REGISTRATION NO. 28147298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) _One
                                      __ of_the
                                             __ Indictment
                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found guilty on count(s)_ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                 Count
     Title & Section                           Nature of Offense                                                                            Number(s)
18:371                                 Conspiracy to Commit Wire Fraud                                                                       I




        The defendant is sentenced as provided in pages 2 through     5    of this judgment. The sentence is imposed pursuant
  o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  \8J Count(s)_f_em_a_i_I11_'n.::;g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is               0       are\8J dismissed on the motion of the United States.

  I8l Assessment: $100,00 waived.

  I8l No fine                                        0 Forfeiture pursuant to order filed                                        , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                           ll-cr-03486-JAH-22
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AO 245B (CASD) (Rev. Ji12) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                             Judgment ~ Page __2;;..._ of    5
 DEFENDANT: Lisa Walker (22)
 CASE NUMBER:
                                                         IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Three months.



    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    I8l The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends custody be served in San Diego, California.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Dat _______________ Da.m.                         Dp.m.         on _ _ _ _ _ _ _ _ _ _ _ ___

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------
       o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                            UNITED STATES MARSHAL


                                                                       By __________~~__~~____--------------­
                                                                                        DEPUTY UNITED STATES MARSHAL
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AO 245B (CASD) (Rev. 1111) Judgment in a Criminal Case
           Sheet 3  Supervised Release
                                                                                                               Judgment-Page _ _
                                                                                                                               3 _ of
DEFENDANT: Lisa Walker (22)                                                                           a
CASE NUMBER:
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Two years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug !ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dUTlng
the term of supervision, unless otherwise ordered by court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                          .
       The defendant shall comply with llie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as dIrected
       by the probation officer. the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shaH work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         eontrolled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
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        AO 2458 (CAS D) (Rev. )1l2) Judgment in a Crimmal Case
                    Sheet 4 --- Special Condit.ons
                                                                                                           Judgmenl--·Page _ _4_ of
        DEFENDANT: Lisa Walker (22)                                                                   II
        CASE NUMBER:




                                                 SPECIAL CONDITIONS OF SUPERVISION
I8l Submit person, residence, office or vehicle to a ~e~rch, conducted by a United States Prob~tion Officer ~~ a reasonable ti~e and in a .
    reasonable manner, based upon reasonable SUspICIon of contraband or eVIdence of a VIolatIOn of a condItIOn of release; fatlure to submIt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
I8l If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
I8l Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
     officer, if directed.
I8l Provide complete disclosure of personal and business financial records to the probation officer as requested.
I8l Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Complete a residential drug treatment program as directed by the Probation Officer.
I8l Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
     obtained under any other name, entity, including a trust, partnership or corporation, until fine or restitution is paid in full.


I8l Comply with the conditions of the Home Confinement Program for a period of four months and remain at your residence except for
     activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow procedures
     specified by the probation officer. Pay 50% of the cost of electronic monitoring services.

      X Notify the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or
     indirectly, including any interest held or owned under any other name or entity, including trusts, partnerships, or corporations, until fine or
     restitution is paid in full.
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties



                                                                                              ..                             5
                                                                                                     Judgment- Page                 of    5

DEFENDANT: Lisa Walker
CASE NUMBER: II-cr-03486-JAH-22
                                                            RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_1_8_3_,2_5_6_.00
                                                                          _ _ _ unto the United States of America.




          This sum shall be paid         __ immediately.
                                          " as follows:



           Pay restitution, jointly and severally with the co-defendants, in an amount of$183,256.00 through the Clerk, U.S. District
           Court, to the victims as noted on the list maintained by the Assistant U.S. Attorney in this matter, in the amounts
           specified, payable forthwith, with the payment of any remaining balance to be made at the rate of
           $200 per month. Distribution of restitution to the victims is to be on a pro rata basis.




      The Court has determined that the defendant         does not   have the ability to pay interest. It is ordered that:
    K         The interest requirement is waived.

              The interest is modified as follows:




                                                                                                    II-cr-03486-JAH-22
